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 5   Attorneys for Defendant MYRON JACOBS
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 7

 8                             IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                         Case No. 2:12-CR-00323 MCE
12
                             Plaintiff,
13                                                     STIPULATION REGARDING
     vs.                                               EXCLUDABLE TIME PERIODS
14                                                     UNDER SPEEDY TRIAL ACT;
     MYRON JACOBS and                                  FINDINGS AND ORDER
15   STACEY JACOBS,
16                           Defendants.
17   ________________________________/
18

19                                             STIPULATION
20          Plaintiff United States of America, by and through its counsel of record, and defendants
21   MYRON JACOBS and STACEY JACOBS, by and through their counsels of record, hereby
22   stipulate as follows:
23          1)       By previous order, this matter was set for status on August 29, 2013 at
24   9:00 a.m.
25          2)       By this stipulation, defendants now move to continue the status conference
26   until September 26, 2013 at 9:00 a.m. and to exclude time between August 29, 2013, and
27   September 26, 2013, under Local Code T4. Plaintiff does not oppose this request.
28   ///

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 1          3)       The parties agree and stipulate, and request that the Court find the
 2   following:
 3                   a)     The Government has represented that the discovery associated with
 4   this case includes, to date, 4,423 pages of investigative reports and related documents in
 5   electronic form. All of this discovery has been either produced directly to counsel and/or made
 6   available for inspection and copying.
 7                   b)     Counsel for defendants desire additional time to consult with their
 8   respective clients, to review the current charges, to conduct investigation and research related to
 9   the charges, and to review discovery for this matter.
10                   c)     Counsel for defendants believe that failure to grant the above-
11   requested continuance would deny them the reasonable time necessary for effective preparation,
12   taking into account the exercise of due diligence.
13                   d)     The Government does not object to the continuance.
14                   e)     Based on the above-stated findings, the ends of justice served by
15   continuing the case as requested outweigh the interest of the public and the defendants in a trial
16   within the original date prescribed by the Speedy Trial Act.
17                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
18   3161, et seq., within which trial must commence, the time period of August 29, 2013, and
19   September 26, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A),
20   B(iv) [Local Code T4] because it results from a continuance granted by the Court at the
21   defendant’s request on the basis of the Court’s finding that the ends of justice served by taking
22   such action outweigh the best interest of the public and the defendants in a speedy trial.
23          4)       Nothing in this stipulation and order shall preclude a finding that other
24   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
25   period within which a trial must commence.
26   IT IS SO STIPULATED.
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28   DATED: August 26, 2013

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 1                                              Respectfully submitted
 2                                              LAW OFFICES OF TIM A. PORI
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 4   Date: August 26, 2013                      /s/ Tim A. Pori
                                                TIM A. PORI
 5                                              Attorney for Defendant MYRON JACOBS
 6   Date: August 26, 2013                      /s/ David Fischer (Authorized 8/26/2013 )
                                                DAVID FISCHER
 7                                              Attorney for Defendant STACEY JACOBS
 8   Date: August 26, 2013                      /s/ Lee S. Bickley (Authorized 8/26/2013)
                                                LEE S. BICKLEY
 9                                              Assistant United States Attorney
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11                                                ORDER
12          IT IS SO FOUND AND ORDERED. The status conference currently scheduled for
13   August 29, 2013, is hereby vacated and continued to September 26, 2013 at 9:00 a.m. in
14   Courtroom 7. The time period between August 29, 2013, and September 26, 2013, is excluded
15   under Local Code T4 for the reasons stated above. The Court finds that the ends of justice
16   served by continuing the case as requested outweigh the interest of the public and the defendants
17   in a trial within the original date prescribed by the Speedy Trial Act.
18          IT IS SO ORDERED.
19   Date: August 27, 2013

20   _____________________________________

21                                               ___________________________________________
                                                 MORRISON C. ENGLAND, JR., CHIEF JUDGE
22                                               UNITED STATES DISTRICT COURT
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